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 7                                 IN THE UNITED STATES DISTRICT COURT

 8                                     EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                            CASE NO. 11-0190 MCE

11                                   Plaintiff,           STIPULATION REGARDING EXCLUDABLE
                                                          TIME PERIODS UNDER SPEEDY TRIAL ACT;
12                            v.                          ORDER TO CONTINUE CASE TO 3/17/16 AT 9:00
                                                          A.M.
13   TIFFANY BROWN,
     NICHOLAS RAMIREZ
14                                   Defendants

15
                                                     STIPULATION
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            Plaintiff United States of America, by and through its counsel of record, and defendant Tiffany
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     Brown, by and through her counsel of record, and defendant Nicholas Ramirez, by and through his
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     Counsel of Record, Michael Bigelow, hereby stipulate as follows:
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            1.      By previous order, this matter was set for status on January 28, 2016.
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            2.      By this stipulation, defendant now moves to continue the status conference until March
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     17, 2016, and to exclude time between January 28, 2016, and March 17, 2016, under Local Code T4.
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     Plaintiff does not oppose this request.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)       Counsel for defendants and the Government desire additional time to investigate
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            the roles of each of the respective clients, assess a related federal case from Oklahoma, continue
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            to conduct investigation, continue to engage in negotiations with the Government in an effort to
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            reach a plea agreement, and to otherwise prepare for trial. Counsel for defendants believe that
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      Stip. & Order Continuing Status Conf. & Excluding   1
      Time Periods Under Speedy Trial Act
             Case 2:11-cr-00190-KJM Document 273 Filed 02/03/16 Page 2 of 3


 1         failure to grant the above-requested continuance would deny them the reasonable time necessary

 2         for effective preparation, taking into account the exercise of due diligence.

 3                 b)       The government does not object to the continuance.

 4                 c)       Based on the above-stated findings, the ends of justice served by continuing the

 5         case as requested outweigh the interest of the public and the defendant in a trial within the

 6         original date prescribed by the Speedy Trial Act.

 7                 d)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 8         et seq., within which trial must commence, the time period of January 28, 2016 to March 17,

 9         2016, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

10         T4] because it results from a continuance granted by the Court at defendant’s request on the basis

11         of the Court’s finding that the ends of justice served by taking such action outweigh the best

12         interest of the public and the defendant in a speedy trial.

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     Stip. & Order Continuing Status Conf. & Excluding   2
     Time Periods Under Speedy Trial Act
              Case 2:11-cr-00190-KJM Document 273 Filed 02/03/16 Page 3 of 3


 1          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
 3 must commence.

 4          IT IS SO STIPULATED.

 5 Dated: January 27, 2016                                      BENJAMIN B. WAGNER
                                                                United States Attorney
 6

 7                                                              /s/ Jason Hitt
                                                                JASON HITT
 8                                                              Assistant United States Attorney

 9
     Dated: January 27, 2016                                    /s/ Dina L. Santos
10                                                              DINA SANTOS, ESQ.
                                                                Attorney for Tiffany Brown
11
     Dated: January 27, 2016                                    /s/ Michael Bigelow
12                                                              MICHAEL BIGELOW, ESQ.
                                                                Attorney for Nicholas Ramirez
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                                                          ORDER
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            IT IS SO ORDERED.
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     Dated: February 2, 2016
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      Stip. & Order Continuing Status Conf. & Excluding     3
      Time Periods Under Speedy Trial Act
